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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv. No. 1:23-cr-38-TNM

TODD TILLEY

STATEMENT OF OFFENSE

Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and
through its attorney, the United States Attorney for the District of Columbia, and the defendant,
Todd Tilley, with the concurrence of his attorney, agree and stipulate to the below factual basis
for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate
that the United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include
permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

2. On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members
of the public.
op On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States

Senate were meeting in the United States Capitol to certify the vote count of the Electoral

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College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice
President Mike Pence was present and presiding, first in the joint session, and then in the Senate
chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

a At approximately 2:00 p.m., certain individuals in the crowd forced their way
through, up, and over the barricades and officers of the U.S. Capitol Police, and the crowd
advanced to the exterior facade of the building. The crowd was not lawfully authorized to enter
or remain in the building and, prior to entering the building, no members of the crowd submitted
to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized
security officials.

6. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the'U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;
however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,
including by breaking windows and by assaulting members of law enforcement, as others in the
crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

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7. Shortly thereafter, at approximately 2:20 p.m., members of the United States
House of Representatives and United States Senate, including the President of the Senate, Vice
President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all
proceedings of the United States Congress, including the joint session, were effectively
suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances
caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who
had entered the U.S. Capitol without any security screening or weapons check, Congressional
proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,
and the building had been confirmed secured. The proceedings resumed at approximately 8:00
p.m. after the building had been secured. Vice President Pence remained in the United States
Capitol from the time he was evacuated from the Senate Chamber until the session resumed.

Todd Tilley’s Participation in the January 6, 2021, Capitol Riot

8. The defendant, Todd Tilley, travelled from his home in South Paris, Maine, to
Washington, D.C., via automobile on January 5, 2021. One of the purposes of the defendant’s
trip to Washington, D.C., was to protest Congress’ certification of the Electoral College.

9. On January 6, 2021, Tilley watched speeches at the rally near the ellipse and then
marched with others to the U.S. Capitol building.

10. Prior to entering the U.S. Capitol, Tilley observed other rioters attempting to scale
walls to gain entrance to the building and assisted one rioter by pulling him safely over the top of
one of the walls. Tilley also observed other rioters battling with law enforcement who were
trying to keep the crowd from reaching the building. Tilley saw smoke, smelled pepper spray,

and heard sirens and loudspeakers warning him that he was in a restricted area.

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11. At approximately 2:24 p.m., Tilley entered the U.S. Capitol Building through the
Senate Wing doors. Tilley walked with a crowd of other individuals through the Crypt, Statuary
Hall, and other areas of the Capitol. On at least one occasion, Tilley joined with other rioters in
loudly chanting, “Stop the steal. Stop the steal.”

12. Tilley exited the Capitol at approximately 2:53 p.m., nearly 30 minutes after he
had entered.

13. Later that evening, Tilley sent a picture he took of a crowd near the Washington
Monument to a relative by text message. The relative replied, asking, “Are you there?” Tilley
responded by texting, “Yes. Pence screwed us over.”

14, The defendant engaged in parading, demonstrating, or picketing in a Capitol
Building, in violation of 40 U.S.C. § 5104(e)(2)(G). Specifically, the defendant knew at the time
he entered the U.S. Capitol Building that that he did not have permission to enter the building
and the defendant paraded, demonstrated, or picketed.

Respectfully submitted,
MATTHEW M. GRAVES

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By: 7 hep Pe

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DEFENDANT’S ACKNOWLEDGMENT

I, Todd Tilley have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that
could impede my ability to understand this Statement of the Offense fully.

Date: P-/ 1 {20353 Lit Ly

TODD TILLEY
Defendant

 

ATTORNEY’S ACKNOWLEDGMENT

I have read this Statement of the Offense and have reviewed it with my client fully. I
concur in my client’s desire to adopt this Statement of the Offense as true and accurate.

Date: AlifZeZ 3 4 bee. Lf Sat GaN—

ROBERT LEVIN
Attorney for Defendant

 

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